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16
17                            UNITED STATES DISTRICT COURT

18                          NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20
21
     EPIC GAMES, INC.,                              CASE NO. 4:20-CV-05640-YGR
22
          Plaintiff, Counter-defendant,
23
          v.                                       APPLE INC.’S TENTATIVE INITIAL
24                                                 WITNESS LIST
25   APPLE INC.,
                                                   The Honorable Yvonne Gonzalez Rogers
26        Defendant, Counterclaimant.
                                                   Trial: May 3, 2021
27
28

                       APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
                               Case No. 4:20-cv-05640-YGR-TSH
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 1          Pursuant to Pretrial Order No. 1 (ECF No. 371) and the Court’s Standing Order re: Pretrial
 2   Instructions in Civil Cases, Defendant and Counterclaimant Apple Inc. (“Apple”) serves its
 3   Tentative Initial Witness List of trial witnesses, other than for impeachment or rebuttal, reserving
 4   its rights to supplement or amend its list for good cause or in response to Epic Games, Inc.’s
 5   (“Epic”) witness list and/or other pre-trial disclosures. Apple also reserves the right to substitute
 6   deposition designations for live testimony, and vice versa, including based on the availability or
 7   non-availability of any witness to appear at trial.
 8
     DATE: March 19, 2021                           GIBSON DUNN & CRUTCHER LLP
 9
                                                    /s/    Richard J. Doren
10                                                         Richard J. Doren
11
                                                    Attorney for Defendant and Counterclaimant
12                                                  Apple Inc.
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                           APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
                                   Case No. 4:20-cv-05640-YGR-TSH
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                                                          APPLE WITNESS LIST
 1
 2   Witness                Apple’s Brief Statement of          Estimated          Estimated           Estimated     Appearance
 3                          Substance of Testimony              Length of          Length of           Length of
                                                                Direct             Cross-              Re-Direct
 4                                                              Examination        Examination         Examination
 5                                                             Apple Witnesses
 6   Tim Cook, Chief        Apple’s corporate values;           1 hour             1 hour              10 minutes    Live, in person
 7   Executive Officer*     development and launch of the
                            App Store; competition faced
 8                          by Apple.
 9   Craig Federighi,       iOS operating system;               2 hours            1 hour              10 minutes    Live, in person
10   Senior Vice            competition faced by Apple;
     President, Software    Apple’s investment and efforts
11   Engineering*           to combat malware, spyware,
                            and other issues relating to app
12
                            security and iOS device user
13                          protection.

14   Matt Fischer, Vice     Marketing of apps available in      See Epic’s list for estimated lengths of             Live, in person
     President, App Store   the App Store; competitors and      examinations.
15                          competition in the sale of apps
16                          and the different app
                            marketplaces; Apple’s business
17                          relationships with app
                            developers.
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                                          APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness                Apple’s Brief Statement of         Estimated     Estimated     Estimated     Appearance
 1
                            Substance of Testimony             Length of     Length of     Length of
 2                                                             Direct        Cross-        Re-Direct
                                                               Examination   Examination   Examination
 3
     Eric Friedman, Head    Apple’s investment and efforts     1 hour        15 minutes    5 minutes     Live, in person
 4
     of Fraud Eng.,         to combat fraud, malware,
 5   Algorithms, and Risk   spyware, and other issues
                            relating to app security and iOS
 6                          device user protection.
 7
     Eric Gray, Director,   Design and operation of            1 hour        15 minutes    5 minutes     Live, in person
 8   Commerce &             Apple’s payment processing
     Payments*              policies and practices.
 9
     Mark Grimm, Game       The tools, services, and benefits 1 hour         30 minutes    5 minutes     Live, in person
10   Development            that Apple provides to
11   Manager                developers, including services
                            and support Apple provided to
12                          Epic; Apple’s relationship with
                            Epic; Epic’s breaches of its
13
                            agreements with Apple and
14                          Epic’s other misconduct.

15   C.K. Haun, Senior      App Store policies and             30 minutes    15 minutes    5 minutes     Live, in person
     Director, Developer    guidelines; the App Store
16   Technical Services     business model; Apple’s
17                          policies relating to App Store
                            commissions and developer
18                          price selection; technical
                            services Apple provides to app
19
                            developers.
20
                                          APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness                 Apple’s Brief Statement of         Estimated          Estimated           Estimated     Appearance
 1
                             Substance of Testimony             Length of          Length of           Length of
 2                                                              Direct             Cross-              Re-Direct
                                                                Examination        Examination         Examination
 3
     Trystan Kosmynka,       App Store policies and             See Epic’s list for estimated lengths of             Live, in person.
 4
     Senior Director,        guidelines; Apple’s app review     examinations.
 5   Marketing*              and curation process and
                             procedures; Apple’s investment
 6                           in efforts to protect iOS device
                             users’ safety and privacy.
 7
 8   Shaan Pruden, Senior    The tools, services, and benefits 1 hour              15 minutes          5 minutes     Live, in person
     Director, Partnership   that Apple provides to
 9   Management and          developers, including services
     Worldwide               and support Apple provided to
10
     Developer Relations     Epic.
11
     Phil Schiller,          Development and launch of the      6 hours            4 hours             1 hour        Live, in person
12   Apple Fellow*           App Store; App Store policies
                             and guidelines; the App Store
13
                             business model; the App Store
14                           commission; app distribution;
                             iOS operating system;
15                           competition faced by Apple;
                             design, development, launch,
16
                             and marketing of the iPhone.
17
     Michael Schmid,         The tools, services, and benefits See Epic’s list for estimated lengths of              Live, in person.
18   Head of Game            that Apple provides to            examinations.
     Business*               developers, including to Epic;
19
                             Apple’s relationship with Epic,
20
                                           APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
21                                                 Case No. 4:20-cv-05640-YGR-TSH
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     Witness              Apple’s Brief Statement of        Estimated          Estimated           Estimated     Appearance
 1
                          Substance of Testimony            Length of          Length of           Length of
 2                                                          Direct             Cross-              Re-Direct
                                                            Examination        Examination         Examination
 3
     Development, App     Epic’s breaches of its
 4
     Store                agreements with Apple, and
 5                        Epic’s other misconduct.

 6   Document Custodian   Admission of business records     5 minutes                                            Live, in person or
                          and other documents in Apple’s                                                         may request leave
 7
                          possession, as necessary                                                               to appear
 8                                                                                                               remotely.

 9                                                          Epic Witnesses
10   Steve Allison,       The Epic Games Store business     See Epic’s list for estimated lengths of             Live, in person, or
11   General Manager,     model and financial               examinations.                                        by deposition
     Epic Games Store     projections; the Epic Games                                                            designation.
12                        Store’s revenue split; the Epic
                          Games Store’s market share.
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                                       APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
21                                             Case No. 4:20-cv-05640-YGR-TSH
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     Witness                Apple’s Brief Statement of         Estimated          Estimated           Estimated     Appearance
 1
                            Substance of Testimony             Length of          Length of           Length of
 2                                                             Direct             Cross-              Re-Direct
                                                               Examination        Examination         Examination
 3
     Andrew Grant,          Enforcement of platform rules; See Epic’s list for estimated lengths of                 Live, in person, or
 4
     Engineering Fellow     Fortnite anti-cheat measures;    examinations.                                          by deposition
 5                          the importance to Apple’s                                                               designation.
                            brand of protecting user privacy
 6                          and security; Epic’s use of
                            Apple-provided tools and
 7
                            services; Epic’s interest in
 8                          workarounds to undercut
                            Apple’s 30% commission;
 9                          Epic’s efforts to subvert app
10                          review; Epic’s campaign
                            against app stores.
11
     Joseph Kreiner, Vice   Benefits of cross-platform play;   See Epic’s list for estimated lengths of             Live or by
12   President, Business    Epic’s relationships with          examinations.                                        deposition
     Development            console manufacturers,                                                                  designation. If
13
                            including contractual terms,                                                            appearing live,
14                          commissions paid by Epic, and                                                           Mr. Kreiner may
                            payment processing terms;                                                               request leave to
15                          fraud on the Epic Games Store.                                                          appear remotely.
16
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                                          APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
21                                                Case No. 4:20-cv-05640-YGR-TSH
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     Witness               Apple’s Brief Statement of         Estimated          Estimated           Estimated     Appearance
 1
                           Substance of Testimony             Length of          Length of           Length of
 2                                                            Direct             Cross-              Re-Direct
                                                              Examination        Examination         Examination
 3
     Thomas Ko, Senior     Epic’s relationship with           See Epic’s list for estimated lengths of             Live, in person, or
 4
     Director, Head of     Samsung, including Epic’s          examinations.                                        by deposition
 5   Online Business       contracts with Samsung,                                                                 designation.
     Strategy and          commissions paid to Samsung,
 6   Operations            and communications with
                           Samsung; Epic’s campaign
 7
                           against app stores.
 8
     Mark Rein, Vice       The Epic Games Store business      30 minutes         15 minutes          10 minutes    Live, in person, or
 9   President, Business   model and commission;                                                                   by deposition
     Development           benefits of Apple marketing                                                             designation.
10
                           and other support provided to
11                         Epic; Epic’s plans and practices
                           concerning distribution through
12                         iOS, competing platforms, and
                           alternative channels; Epic’s
13
                           campaign against app stores.
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                                        APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness              Apple’s Brief Statement of         Estimated          Estimated           Estimated     Appearance
 1
                          Substance of Testimony             Length of          Length of           Length of
 2                                                           Direct             Cross-              Re-Direct
                                                             Examination        Examination         Examination
 3
     Tim Sweeney, Chief   Epic’s business model,             See Epic’s list for estimated lengths of             Live, in person.
 4
     Executive Officer*   operations, and strategy; Epic’s   examinations.
 5                        financial performance; Epic’s
                          dealings with Apple and
 6                        competing platforms, including
                          commissions paid; Epic Games
 7
                          Store profitability; Epic’s
 8                        relationship with Samsung,
                          including Epic’s contracts with
 9                        Samsung, commissions paid to
10                        Samsung, and communications
                          with Samsung; Epic’s
11                        campaign against app stores.
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                                        APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness               Apple’s Brief Statement of      Estimated          Estimated           Estimated     Appearance
 1
                           Substance of Testimony          Length of          Length of           Length of
 2                                                         Direct             Cross-              Re-Direct
                                                           Examination        Examination         Examination
 3
     Daniel Vogel, Chief   Epic’s exploration of            30 minutes        15 minutes          10 minutes    Live, in person
 4
     Operating Officer     sideloading on iOS and
 5                         Android; Epic’s launch of
                           Fortnite outside of the Google
 6                         Play Store; security of Fortnite
                           and the Epic Games Store,
 7
                           including the Xsolla payment
 8                         processor; concerns over cross-
                           platform arbitrage of “V-bucks”
 9                         purchases; Epic’s attempts to
10                         avoid Apple’s App Store
                           review process; Epic’s
11                         campaign against app stores.
12   Matthew Weissinger,   Epic’s pricing and marketing    See Epic’s list for estimated lengths of             Live, in person.
     Vice President,       activities, including as to     examinations.
13
     Marketing*            Fortnite; Fortnite’s profit
14                         margin; Fortnite’s weaknesses
                           on mobile systems relative to
15                         game consoles; Epic’s
16                         campaign against app stores.

17   Document Custodian    Admission of business records   5 minutes                                            Live, in person or
                           and other documents in Epic’s                                                        may request leave
18                         possession, as necessary                                                             to appear
19                                                                                                              remotely.

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                                        APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
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     Witness               Apple’s Brief Statement of       Estimated     Estimated     Estimated     Appearance
 1
                           Substance of Testimony           Length of     Length of     Length of
 2                                                          Direct        Cross-        Re-Direct
                                                            Examination   Examination   Examination
 3
     Joseph Babcock,       Epic’s financial performance;    30 minutes    10 minutes    N/A           Deposition
 4
     Former Chief          Epic’s business model and                                                  Designation
 5   Financial Officer     strategy; Epic’s dealings with
                           Apple and competing
 6                         platforms, including
                           commissions paid; Epic Games
 7
                           Store profitability.
 8
     Marc Hutcheson,       Apple’s marketing support of     30 minutes    10 minutes    N/A           Deposition
 9   Marketing Manager     Epic and Fortnite; Epic’s                                                  Designation
     (former Epic)         violations of agreements with
10
                           Apple and related rules; the
11                         Epic Games Store’s operations
                           and customer acquisition
12                         strategies.
13
     Haseeb Malik,         Tools, services, and benefits    30 minutes    10 minutes    N/A           Deposition
14   Marketing Manager     that Apple provided to Epic;                                               Designation
     (former Epic)         platforms on which Epic makes
15                         its games available; Epic’s
                           campaign against app stores.
16
17   David Nikdel, Lead,   Engineering and technology       15 minutes    5 minutes     N/A           Deposition
     Online Gameplay       benefits received from Apple;                                              Designation
18   Systems               quality of non-iOS platforms;
                           Epic’s direct payment hotfix.
19
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                                        APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness               Apple’s Brief Statement of        Estimated          Estimated           Estimated     Appearance
 1
                           Substance of Testimony            Length of          Length of           Length of
 2                                                           Direct             Cross-              Re-Direct
                                                             Examination        Examination         Examination
 3
     Nick Penwarden,       The Unreal Engine business        15 minutes         5 minutes           N/A           Deposition
 4
     Vice President,       model; iOS and Android                                                                 Designation
 5   Engineering           proprietary software and tools;
                           engineering support from
 6                         Apple; cross-platform play.
 7
     Alec Shobin, Senior   Marketing for mobile games;       30 minutes         10 minutes          N/A           Deposition
 8   Marketing Manager     the App Store review process;                                                          Designation
                           Epic’s campaign against app
 9                         stores.
10                                                        Third Party Witnesses
11
     Vivek Sharma, Vice    TBD after Apple deposes this      See Epic’s list for estimated lengths of             Live, in person.
12   President, Gaming,    individual.                       examinations.
     Facebook, Inc.
13
14   Lori Wright, Vice     TBD after Apple deposes this      See Epic’s list for estimated lengths of             Live, in person.
     President, Xbox       individual.                       examinations.
15   Business
     Development,
16   Microsoft
17   Corporation
     Benjamin Simon,       TBD after Apple deposes this      See Epic’s list for estimated lengths of             Live, in person.
18   Founder and Chief     individual.                       examinations.
     Executive Officer,
19   Yoga Buddhi Co.
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                                         APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness              Apple’s Brief Statement of       Estimated          Estimated           Estimated     Appearance
 1
                          Substance of Testimony           Length of          Length of           Length of
 2                                                         Direct             Cross-              Re-Direct
                                                           Examination        Examination         Examination
 3
     Shelley Gould,       TBD after Apple deposes this     See Epic’s list for estimated lengths of             Live, in person.
 4
     President, Co-       individual.                      examinations.
 5   Founder, Neuro-Fin
     d/b/a SmartStops
 6   Aashish Patel,       Tools, services, and support     See Epic’s list for estimated lengths of             Live, in person.
 7   Nvidia Corporation   that Apple provided to Nvidia;   examinations.
                          distribution on competitor
 8                        platforms and through
                          alternative channels;
 9                        communications with Apple;
10                        compliance with Apple’s App
                          Review Guidelines; Nvidia’s
11                        affiliation with Epic.
12   Adrian Ong, Senior   Tools, services, and support     15 minutes         5 minutes           N/A           Deposition
13   Vice President of    that Apple provided to Match                                                          Designation
     Operations, Match    Group; distribution on
14   Group                competitor platforms and
                          through alternative channels;
15                        communications with Apple;
16                        compliance with Apple’s App
                          Review Guidelines; Match’s
17                        affiliation with Epic.
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                                       APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness                  Apple’s Brief Statement of         Estimated     Estimated     Estimated     Appearance
 1
                              Substance of Testimony             Length of     Length of     Length of
 2                                                               Direct        Cross-        Re-Direct
                                                                 Examination   Examination   Examination
 3
     Scott Forstall, former   Differences between mobile         45 minutes    5 minutes     N/A           Deposition
 4
     Senior Vice              devices and PCs; security and                                                Designation
 5   President, iOS           privacy considerations for
     Software                 mobile devices; historical App
 6                            Store policies and practices.
 7
     Ron Okamoto,             App Store policies and             30 minutes    5 minutes     N/A           Deposition
 8   former Vice              guidelines; the App Store                                                    Designation
     President,               business model; resources,
 9   Worldwide                tools, software, content, and
     Developer Relations      services, made available to app
10
                              developers, including pursuant
11                            to the Apple Developer
                              Agreement and Program
12                            License Agreement; app
                              development for macOS;
13
                              transformation of the
14                            application software business.
15   Phillip Shoemaker,       App Store policies and             30 minutes    5 minutes     N/A           Deposition
     former Technology        guidelines; Apple’s app review                                               Designation
16
     Director, App            and curation process and
17   Review                   procedures; Apple’s investment
                              in efforts to protect iOS device
18                            users’ safety and privacy.
19
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                                            APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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     Witness                 Apple’s Brief Statement of         Estimated          Estimated           Estimated        Appearance
 1
                             Substance of Testimony             Length of          Length of           Length of
 2                                                              Direct             Cross-              Re-Direct
                                                                Examination        Examination         Examination
 3
                                                           Apple Expert Witnesses
 4
 5   Richard                 See expert disclosures served      1 hour             3 hours and         30 minutes       Live, in person
     Schmalensee             February 16, 2021 and March                           30 minutes
 6                           15, 2021                           (with written
                                                                direct) 1
 7
 8   Lorin Hitt              See expert disclosures served      1 hour             3 hours and         30 minutes       Live, in person
                             February 16, 2021 and March                           30 minutes
 9                           15, 2021                           (with written
                                                                direct)
10
     Francine LaFontaine     See expert disclosures served      1 hour             2 hours and         20 minutes       Intends to appear
11                           February 16, 2021 and March                           30 minutes                           live and in person,
12                           15, 2021                           (with written                                           but may request
                                                                direct)                                                 leave to appear
13                                                                                                                      remotely.
14   Daniel Rubinfeld        See expert disclosures served      1 hour             2 hours             20 minutes       Live, in person
15                           February 16, 2021 and March
                             15, 2021                           (with written
16                                                              direct)
17
18
     ____________________________
19   1
             Apple’s position is that with written directs, any live introduction should be limited to one hour. Epic disagrees with Apple’s
     position.
20
                                            APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
21                                                  Case No. 4:20-cv-05640-YGR-TSH
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     Witness              Apple’s Brief Statement of      Estimated       Estimated       Estimated     Appearance
 1
                          Substance of Testimony          Length of       Length of       Length of
 2                                                        Direct          Cross-          Re-Direct
                                                          Examination     Examination     Examination
 3
     James Malackowski    See expert disclosures served   1 hour          1 hour and 30   20 minutes    Live, in person
 4
                          February 16, 2021 and March                     minutes
 5                        15, 2021                        (with written
                                                          direct)
 6
     Aviel Rubin          See expert disclosures served   1 hour          2 hours and     20 minutes    Live, in person
 7                        February 16, 2021 and March                     30 minutes
                          15, 2021                        (with written
 8
                                                          direct)
 9
     Dominique Hanssens See expert disclosures served     1 hour          1 hour          20 minutes    Live, in person
10                      February 16, 2021 and March
                        15, 2021                          (with written
11                                                        direct)
12
13
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                                       APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
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 1                                    CERTIFICATE OF SERVICE
 2          I, Betty X. Yang, hereby certify that I am a citizen of the United States, over the age of
 3   eighteen, and not a party to this action. I hereby certify that on March 19, 2021, I delivered the
 4   foregoing APPLE INC.’S TENTATIVE INITIAL WITNESS LIST, via the Court’s ECF
 5   system, to the following counsel in this action and the related actions:
 6
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 7       paul.riehle@faegredrinker.com                    steve@hbsslaw.com
         FAEGRE DRINKER BIDDLE &                          ROBERT F. LOPEZ
 8
         REATH LLP                                        robl@hbsslaw.com
 9                                                        SHANA E. SCARLETT
         CHRISTINE A. VARNEY                              shanas@hbsslaw.com
10       cvarney@cravath.com                              BENJAMIN J. SIEGEL
         KATHERINE B. FORREST                             bens@hbsslaw.com
11
         kforrest@cravarth.com                            HAGENS BERMAN SOBOL SHAPIRO
12       GARY A. BORNSTEIN                                LLP
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13       YONATAN EVEN                                     Interim Class Counsel for the Developer
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14
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15       lmoskowitz@cravath.com                           MARK C. RIFKIN
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22
                                                          Plaintiffs
23
24          I declare under penalty of perjury under the laws of the United States of America that the

25   foregoing is true and correct. Executed this 19th day of March, 2021, at Dallas, Texas.
26                                                                  /s/ Betty X. Yang
27                                                                Betty X. Yang
28
                         APPLE INC.’S TENTATIVE INITIAL WITNESS LIST
                                 Case No. 4:20-cv-05640-YGR-TSH
                                                 17
